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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION

  IN RE:                                                :    CHAPTER 13
                                                        :
  CASSANDRA JOHNSON LANDRY,                             :    CASE NO. 18-55697-LRC
  AKA CASSANDRA LANDRY                                  :
                                                        :
                                                        :
           Debtor.                                      :
                                                        :
  U.S. BANK NATIONAL ASSOCIATION, AS                    :    CONTESTED MATTER
  TRUSTEE, FOR CITIGROUP MORTGAGE                       :
  LOAN TRUST INC., MORTGAGE PASS-                       :
  THROUGH CERTIFICATES, SERIES 2006-                    :
  AR6 AS SERVICED BY JPMORGAN CHASE
                                                        :
  BANK, NATIONAL ASSOCIATION,
                                                        :
           Movant.                                      :
                                                        :
  vs.                                                   :
  CASSANDRA JOHNSON LANDRY,                             :
  AKA CASSANDRA LANDRY                                  :
  IVY T LANDRY, Co-Debtor                               :
  MELISSA J. DAVEY, Trustee                             :
                                                        :
           Respondents.                                 :

                NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY
                              AND CO-DEBTOR STAY

           Movant has filed documents with the court to obtain relief from the automatic stay and co-debtor
           stay.

           YOUR RIGHTS MAY BE AFFECTED. You should read these documents carefully and
           discuss them with your attorney, if you have one in this bankruptcy case. If you do not have
           an attorney, you may wish to consult one.

           If you do not want the court to grant relief from the automatic stay and co-debtor stay or if you
           want the court to consider your views on the motion, then you or your attorney shall attend the
           hearing scheduled to be held on
            August 28, 2018           1:15 P.M.
           ___________________ at ___________ at the United States Bankruptcy Court, 75 Ted
           Turner Drive S.W., Courtroom 1204, Atlanta, Georgia 30303.

           If you or your attorney does not take these steps, the court may decide that you do not oppose the
           relief sought in the motion and may enter an order granting relief.
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        You may also file a written response to the pleading with the Clerk at the address stated below,
        but you are not required to do so. If you file a written response, you must attach a certificate
        stating when, how and on whom (including addresses) you served the response. Send your
        response so that it is received by the Clerk at least two business days before the hearing.

        If a hearing on the motion for relief from the automatic stay and co-debtor stay cannot be held
        within thirty (30) days, Movant waives the requirement for holding a preliminary hearing within
        thirty days of filing the motion and agrees to a hearing on the earliest possible date. Movant
        consents to the automatic stay remaining in effect until the Court orders otherwise.

        The address of the Clerk's Office is: Clerk, 75 Ted Turner Drive S.W., Suite 1340, Atlanta,
        Georgia 30303. You must also send a copy of your response to the undersigned at the address
        stated below.


        Dated this: 07/24/2018



                                                  /s/ Heather D. Bock
                                                  Heather D. Bock, GA BAR NO. 122806
                                                  Attorney for Movant
                                                  McCalla Raymer Leibert Pierce, LLC
                                                  1544 Old Alabama Road
                                                  Roswell, Georgia 30076
                                                  678-281-6444
                                                  Heather.Bock@mccalla.com
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                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

  IN RE:                                             ) CHAPTER 13
                                                     )
  CASSANDRA JOHNSON LANDRY,                          ) CASE NO. 18-55697-LRC
  AKA CASSANDRA LANDRY                               )
                                                     )
                                                     )
           Debtor.                                   )
                                                     )
  U.S. BANK NATIONAL ASSOCIATION,                    ) CONTESTED MATTER
  AS TRUSTEE, FOR CITIGROUP                          )
  MORTGAGE LOAN TRUST INC.,                          )
  MORTGAGE PASS-THROUGH                              )
  CERTIFICATES, SERIES 2006-AR6 AS                   )
  SERVICED BY JPMORGAN CHASE                         )
  BANK, NATIONAL ASSOCIATION,                        )
                                                     )
           Movant.                                   )
                                                     )
  vs.                                                )
  CASSANDRA JOHNSON LANDRY,                          )
  AKA CASSANDRA LANDRY                               )
  IVY T LANDRY, Co-Debtor                            )
  MELISSA J. DAVEY, Trustee                          )
                                                     )
           Respondents.                              )


   MOTION FOR RELIEF FROM THE AUTOMATIC STAY AND THE CO-DEBTOR STAY

           COMES NOW Movant and shows this Court the following:

                                                    1.

           This is a Motion under Section 362(d) of the Bankruptcy Code for relief from the

  automatic stay and under Section 1301(c) of the Bankruptcy Code for relief from the Co-Debtor

  stay for all purposes allowed by law and the contract between the parties, including, but not

  limited to, the right to foreclose on certain real property.
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                                                  2.

         Movant is the servicer of a loan secured by certain real property in which Debtor has an

  interest. Said real property is security for a promissory note is commonly known as 869 Natchez

  Valley Trace, Grayson, Georgia 30017 (the “Property”).

                                                  3.

         The loan is delinquent in payments that have come due since this case was filed. As of

  July 12, 2018, the loan is delinquent for one (1) payment of $3,661.90 and two (2) payments of

  $3,883.33 each, for a total of $11,428.56.

                                                  4.

         The unpaid principal balance is $452,312.37, and interest is due thereon in accordance

  with the Note.

                                                  5.

         Because of the default of the loan, Movant is not adequately protected and shows that

  there is cause for relief from the automatic stay. Movant's interest would also be irreparably

  harmed by the continuation of the Co-Debtor stay.

                                                  6.

         Movant requests it be permitted to contact the Debtor and Co-Debtor via telephone or

  written correspondence regarding potential loss mitigation options pursuant to applicable non-

  bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any

  other potential loan workouts or loss mitigation agreements.

         WHEREFORE, Movant prays (1) for an Order modifying the automatic stay and Co-

  Debtor Stay, authorizing Movant, its successors and assigns, to proceed with the exercise of its

  private power of sale and to foreclose under its Security Deed and appropriate state statutes; (2)
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  that Movant, at its option, be permitted to contact the Debtor and Co-Debtor via telephone or

  written correspondence regarding potential loss mitigation options pursuant to applicable non-

  bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any

  other potential loan workouts or loss mitigation agreements; (3) for waiver of Bankruptcy Rule

  4001 (a)(3); and (4) for such other and further relief as is just and equitable.


                                                 /s/ Heather D. Bock
                                                 Heather D. Bock, Georgia BAR NO. 122806
                                                 Attorney for Movant
                                                 McCalla Raymer Leibert Pierce, LLC
                                                 1544 Old Alabama Road
                                                 Roswell, Georgia 30076
                                                 678-281-6444
                                                 678-281-6444
                                                 Heather.Bock@mccalla.com
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                                                 BANKRUPTCY CASE NO. 18-55697-LRC

                                                 CHAPTER 13

                                    CERTIFICATE OF SERVICE

        I, Heather D. Bock, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
  Roswell, Georgia 30076-2102, certify:

          That on the date below, I served a copy of the within NOTICE OF ASSIGNMENT OF
  HEARING, together with the MOTION FOR RELIEF FROM THE AUTOMATIC STAY AND
  THE CO-DEBTOR STAY filed in this bankruptcy matter on the following parties at the addresses
  shown, by regular United States Mail, postage prepaid, unless another manner of service is expressly
  indicated:

  Cassandra Johnson Landry                (Pro Se)
  869 Natchez Valley Trace
  Grayson, GA 30017

  Ivy T Landry
  869 Natchez Valley Trace
  Grayson, GA 30017

  Melissa J. Davey                               (served via email)
  Melissa J. Davey, Standing Ch 13 Trustee
  Suite 200
  260 Peachtree Street, NW
  Atlanta, GA 30303


  I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
  CORRECT.

  Executed on:     07/24/2018       By:       /s/ Heather D. Bock
                        (date)               Heather D. Bock Georgia BAR NO. 122806
                                             Attorney for Movant
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    Loan Level Review:              MFR
                                                                                                           JPMorgan Chase Bank, N.A.
                                                                                                                          Post   Activity Ledger
              Pre-Moratorium           12/1/2011                  thru               11/18/2013



                                                            General Loan Information                                               Debtor/Trustee Pay                     Trustee Pay All                        Client Code:    156
                                                                                                                                                                                                                                                               If Service Transfer, is
                                                                                                                                     Current P&I                                POC                           Amended POC File                                      the loan now
          Loan #:                                                          Debtor's Name:           Cassandra Johnson Landry                            $2,922.37                              6/7/2018                          N/A
                                                                                                                                  Payment Amount:                            File Date                             Date                     If Vacant,              Sub-Serviced
                                                                                                                                                                                                                                       District that applies         by SPS/SLS?
          Case #:                              18-55697                     Joint Debtor:                     N/A                     Exceptions:

       Date BK Filed:                          4/3/2018                     BK Filing State:                  GA                       Exception:           MFR Referral Eligible                    Exception Date:

        As of Date:                            7/12/2018                 Contractual Due Date              9/1/2016                    Exception:                                                    Exception Date:                                              ENTER the Filed
                                                                                                                                                                                                                                                               Effective Date of the
                                                                                                                                                                                                                                                                      first PCN
     Variable Interest:                            Yes                    Current BK Status:      Active                               Exception:                                                    Exception Date:                                              filed by SPS/SLS

          Unpaid
                                           $452,312.37                         Chapter:                       13                       Exception:                                                    Exception Date:
     Principal Balance:

                                                                           Event Type/Date                                         Event Type/Date                                          Event Type/Date                             Escrow Balance:             -$18,276.40
                           Non Credit Events
                                                                           Event Type/Date                                         Event Type/Date                                          Event Type/Date




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                                                                           Post Payment Ledger                                                           (Total Due)
                        If Applicable, Suspense                 Amount                    Post Petition Date   Payment                       To / From
    Action Type                  Debits         Date Received   Received   Amount Due            Paid          Amount    Check # / Notes     Suspense       $0.00
                                                                                                                                                            $0.00
   Delinquent Payment                                                       $3,661.90          05/01/18         0.00                           $0.00      -$3,661.90
   Delinquent Payment                                                       $3,883.33          06/01/18         0.00                           $0.00      -$7,545.23
   Delinquent Payment                                                       $3,883.33          07/01/18         0.00                           $0.00     -$11,428.56




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                       Summary
            Avg Days/Month                30.42
             Interest From          8/1/2016
               Interest To         7/13/2018                    Start Date
                                                                              Date Value
                  UPB            $452,312.37                                      9/1/2016
              Interest Rate          4.750%
            Number of Days            711.00
            Amount Per Day            $58.85
            Interest amount       $32,379.15
           UPB + interest        $484,691.52

                                                                                                  Interest Calculation Table

            Avg Days/Month             30.42            30.42         30.42          30.42         30.42           30.42       30.42   30.42   30.42   30.42   30.42   30.42
             Interest From          8/1/2016        11/1/2016      5/1/2017      11/1/2017      5/1/2018
               Interest To         11/1/2016         5/1/2017     11/1/2017       5/1/2018     7/13/2018
                  UPB            $452,312.37      $452,312.37   $452,312.37    $452,312.37   $452,312.37
              Interest Rate        3.12500%         3.50000%      3.62500%       3.75000%      4.75000%
            Number of Days             92.00           181.00        184.00         181.00         73.00            0.00        0.00    0.00    0.00    0.00    0.00    0.00
            Amount Per Day            $38.72           $43.36        $44.91         $46.46        $58.85           $0.00       $0.00   $0.00   $0.00   $0.00   $0.00   $0.00
            Interest amount        $3,562.24        $7,848.16     $8,263.44      $8,409.26     $4,296.05           $0.00       $0.00   $0.00   $0.00   $0.00   $0.00   $0.00
           UPB + interest        $455,874.61      $460,160.53   $460,575.81    $460,721.63   $456,608.42           $0.00       $0.00   $0.00   $0.00   $0.00   $0.00   $0.00




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